             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

United States of America,                     )
              Plaintiff,                      )
                                              )
       v.                                     )
                                              )   Case No. 02-0114-01-CR-W-NKL
James R. Nichols, Robert Gomez,               )
Gwendolyn Baker and Corrine Conway,           )
                                              )
              Defendants.                     )

                                         ORDER

       Before the Court is Defendant James Nichols' Application for Certificate of

Appealability under 28 U.S.C. § 2253(c)(2) [Doc. # 412].

       On December 4, 2009, the Court issued an order addressing Nichols’ Petition for Writ

of Error Coram Nobis and/or Audita Querela. In the Order, the Court found that coram nobis

relief was unavailable, but construed Nichols’ request for coram nobis relief as a motion for

relief from sentence under 28 U.S.C. § 2255. Because Nichols’ motion was filed over three

years after his conviction was affirmed on appeal, the Court found that any § 2255 motion

for habeas corpus relief was time-barred. While the Court went on to consider the merits of

Nichols’ claims on his request for relief under audita querela, the Court did not reach the

merits of Nichols’ motion with regard to § 2255.

       Where district courts deny habeas corpus relief on procedural grounds, a defendant

moving for a certificate of appealability must make a “substantial showing” that “jurists of

reason would find it debatable whether the petition states a valid claim of the denial of a




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constitutional right and that jurists of reason would find it debatable whether the district court

was correct in its procedural ruling.” 28 U.S.C. § 2253; Slack v. McDaniel, 529 U.S. 473,

484 (2000). The Eighth Circuit has clarified:

       1) if the claim is clearly procedurally defaulted, the certificate should not be issued;
       2) even if the procedural default is not clear, if there is no merit to the substantive
       constitutional claims, the certificate should not be issued; but, 3) if the procedural
       default is not clear and the substantive constitutional claims are debatable among
       jurists of reason, the certificate should be granted.

Langley v. Norris, 465 F.3d 861, 863 (8th Cir. 2006) (citation omitted). Nichols has failed

to make a “substantial showing” that jurists of reason would find it debatable whether his

claim was procedurally defaulted; even if he could have shown otherwise, under the facts of

this case, no reasonable jurist would find Nichols’ substantive § 2255 claims debatable. See

generally [Doc. # 410, Order on Nichols’ Petition for Writ of Error ... (discussing merits of

Nichols’ arguments with respect to his petition for relief under audita querela)]1 ; Pamperin

v. United States, Nos. C 07-3077-MWB, CR 03-3069-MWB, 2009 WL 3010539, at *10-13

(N.D. Iowa Sept. 16, 2009) (discussing applicability of United States v. Santos, 128 S. Ct.

1994 (2008) to § 2255 petitions).




       1
          Nichols’ appears to raise a new argument – one not discussed in his underlying Petition
for Writ of Error – in his Application for Certificate of Appealability: an argument that there was
no evidence that the funds at issue were “profits” from money laundering. This argument is not
properly raised in an application for a certificate of appealability and the Court does not consider
it.

                                                 2


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      Therefore, Nichols’ Application for Certificate of Appealability of a § 2255 motion

[Doc. # 412] is DENIED.



                                               s/ Nanette K. Laughrey
                                               NANETTE K. LAUGHREY
                                               United States District Judge
Dated: February 16, 2010
Jefferson City, Missouri




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